Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 1 of 23 PageID# 8413



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division

UNITED STATES OF AMERICA

v.                                                           Criminal No. 3:10CR248

ADLEY H. ABDULWAHAB

                              MEMORANDUM OPINION

      Adley    H.     Abdulwahab,         a     federal          inmate     proceeding     by

counsel, submitted this motion under 28 U.S.C. § 2255 to vacate,

set   aside,    or    correct      his        sentence      ("§     2255     Motion,"     ECF

No. 490).      Abdulwahab contends              that   he    experienced ineffective

assistance     of      counsel 1     in         conjunction          with     his      trial.

Specifically, Abdulwahab demands relief because: 2

      Claim One:         "Counsel stipulated and failed to object to
                         inadmissible evidence of petitioner's prior
                         criminal history."  (§ 2255 Mot. 13.)

      Claim Two:         "Counsel failed to object to evidence of
                         petitioner's lavish personal spending and
                         the prosecutor's appeal to class prejudice."
                          (Id. at 17.)

      Claim Three:       "Counsel failed to object to                         petitioner's
                         use of an alias." (Id. at 20.)

      Claim Four:        "Counsel failed to object                        to the visible
                         restraint of petitioner in                       the presence of
                         the jury. " (Id. at 21. )


      1
       "In all criminal prosecutions, the accused shall enjoy the
right .    . to have the Assistance of Counsel for his defence."
U.S. Const. amend. VI.
      2
       The Court omits the                    emphasis      in    the     quotations     from
Abdulwahab's submissions.
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 2 of 23 PageID# 8414



The Government has responded, asserting that Abdulwahab's claims

lack merit.     (ECF No. 506.)         Abdulwahab has filed a Reply.                     (ECF

No.   513.)   For the reasons set forth below, Abdulwahab's                         §    2255

Motion (ECF No. 490) will be denied.


                            I.     PROCEDURAL HISTORY

      On September 7,       2010,    a grand jury charged Abdulwahab with

one count of mail        fraud conspiracy             (Count One);      six counts of

mail fraud     (Counts Two through Seven);               one count of conspiracy

to commit money laundering            (Count Eight);           six counts of money

laundering     (Counts    Nine     through      Fourteen);       and four      counts      of

securities fraud       (Counts Fifteen through Eighteen).                     (Indictment

1-29, ECF No.    3.)      On February 1, 2011,            the grand jury returned

a Superseding Indictment charging the same counts.                        (Superseding

Indictment 1-29,       ECF No.     140.)       By Memorandum Opinion and Order

entered on March 7, 2011, the Court granted Abdulwahab's and co-

defendant     Christian     Allmendinger's            separate     motions     to       sever

their trials.      United States v. Allmendinger, Nos. 3:10CR248-01,

3:10CR248-02,    2011     WL     841514,   at    *1    (E.D.     Va.   Mar.    7,   2011);

(see ECF Nos. 177-78).

      On May 31,    2011,        the Government filed a Motion to Dismiss

Counts Four, Ten, and Sixteen of the Superseding Indictment with

respect to Abdulwahab.            (ECF No. 248.)         By Order entered on June



                                           2
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 3 of 23 PageID# 8415



3,     2011,       the     Court          granted           the       Government's           motion.          (ECF

No. 254.)

        On       June    3,     2011,        the    jury          trial        commenced.           After     the

Government rested,                  Abdulwahab moved for a                      judgment of acquittal

as to all counts pursuant to Federal Rule of Criminal Procedure

29.         (June 9,      2011 Tr.          646-58,          ECF No.          295.)     The Court denied

the motion.              (June       9,    2011 Tr.             659.) 3       Abdulwahab provided the

sole    testimony             for    his     defense.                 (June    9,     2011    Tr.    683-812.)

Subsequently,            Abdulwahab              renewed          his       motion    for    a    judgment     of

acquittal,         which the Court denied.                              (June 10,      2011 Tr.        3-8,   ECF

No.    286.)            After       less     than       a       day     of    deliberations,         the      jury

returned its verdict,                     finding Abdulwahab guilty of the remaining

fourteen counts of the Superseding Indictment.                                          (ECFNo. 262.)

        On       November       9,        2011,    the          Court        entered    judgment        against

Abdulwahab          and       sentenced           him       to        720    months     of       imprisonment.

(J. 3,       ECF No.          386.)         Abdulwahab appealed.                       The United States

Court       of    Appeals       for        the    Fourth          Circuit       reversed Abdulwahab' s

        3
             In denying the motion for                            acquittal,          however,      the Court
stated:

              I find that if you look-I don't like the money
        laundering because I just think it clutters up all
        cases   that   it's   brought  into.       It's  unduly
        complicated, fouled up, and it double counts the use
        of the evidence, the fact is under the law in the
        circuit and the Supreme Court,       there's sufficient
        evidence to support a money-laundering charge.

(June 9, 2011 Tr. 659.)
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Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 4 of 23 PageID# 8416



convictions for money laundering,                       but affirmed the remainder of

his convictions.             United States v. Abdulwahab,              715 F.3d 521,      523

(4th    Cir.     2013).            The        Fourth    Circuit   vacated    Abdulwahab's

sentence       and    remanded          the    matter    for   re sentencing.     Id.     On

September 6,         2013, the Court entered an amended judgment against

Abdulwahab           and     again        sentenced        him    to   720      months     of

imprisonment.              (Am.    J.    3,    ECF No.    472.)    Abdulwahab     filed    no

further appeal.


                                  II.    SUMMARY OF EVIDENCE

       The Fourth Circuit summarized the evidence of Abdulwahab's

guilt as follows:

            Christian   M.   Allmendinger   and  Brent   Oncale
       founded a company known as "A & O" in Houston, Texas,
       in late 2004.       The company sold life settlement
       investments, which are interests in life insurance
       policies.   Until the end of 2006, A & O sold "bonded
       life settlements," which were interests in particular
       life insurance policies.      The investments were for
       fixed terms of between four and seven years.     If the
       insured died during the term,       the life insurance
       company would pay a benefit,       but if the insured
       remained alive,    a reinsurance bond,   which A & 0
       purchased from Provident Capital Indemnity ("PCI"),
       was designed to pay out and take over the life
       insurance policy (so long as the life insurance policy
       premiums were current).
            Allmendinger and Oncale marketed and sold A & O's
       bonded life settlements directly to investors, and in
       early 2005, they hired Abdulwahab to market and sell
       their products.   At the time, Abdulwahab was selling a
       different   product   for  a   different  company,   BHC
       Marketing.    BHC soon terminated Abdulwahab, however,
       and he began working full-time as A & O's "national
       accounts director."     Abdulwahab owned and operated
                                                   4
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 5 of 23 PageID# 8417



    Houston Investment Center ("HIC"), a Texas company
    that served as A & O's marketing arm.         Through HIC,
    Abdulwahab employed mid-level sales managers who, in
    turn, supervised independent A & O sales agents around
    the country.     A & O paid HIC its first commission on
    May 26, 2005.
          In marketing A & O's products, both orally and
    through written materials they created, Allmendinger,
    Oncale, and Abdulwahab lied about many critical facts.
    For example, they represented that investor funds were
    placed in a segregated account dedicated to those
    payments and used right away to pay policy premiums up
    front.   In reality, A & O had no separate account to
    pay premiums and A & 0 paid the premiums only as they
    became due.    Indeed, A & 0 commingled investor money
    in a general operating account that A & O used for
    paying its bills. [ 4 ]    While A & O was operating,
    Allmendinger, Oncale, and Abdulwahab misappropriated
    millions of dollars      from this account       for their
    personal benefit.
         The coconspirators also misrepresented A & O's
    size, staff, and record of earning returns for its
    investors.   In 2005 and 2006, A & O's websites listed
    fictional people as company principals, falsely stated
    that A & O had offices in multiple states, greatly
    exaggerated the number of A & 0 employees, and falsely
    stated that A & O had particular legal and business
    professionals on its staff.      The sites also stated in
    July 2005 that A & O had "enabled [its] clients to
    leverage $375 million into $800 million in less than
    five years," when in actuality,          no investor had
    received any pay out at that time and Abdulwahab had
    been informed of that fact.        Abdulwahab assisted in
    creating the 2006 version of the website, and his
    business card listed the website address.
          In   2006,    Allmendinger    and   Oncale    invited
    Abdulwahab, who was, at that point, responsible for
    80-90% of A & O's sales,          to become a partner.
    Thereafter, the three men each held an equal interest
    in A & 0 and shared authority over the company.
    Abdulwahab also was added as a signatory to A & O's
    bank accounts.      HIC continued to market A & O's

     4
      The payment of premiums was no small concern because,
    without such payment, policies would lapse, rendering
    the associated investments worthless.
                               5
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 6 of 23 PageID# 8418



    products, and A & O's corrnnission payments to HIC
    remained unchanged.
          By late 2006, regulators from different states
    began to send inquiries to A & O regarding its life
    settlement product, based largely on concerns that A &
    O was    selling an     unregistered       security.       These
    inquiries prompted the three partners to consult with
    Florida attorney Michael Lapat, who assisted A & 0 in
    setting up hedge funds that were backed by life
    settlements.     By early 2007, A & 0 began offering
    fractionalized interests in these funds that they
    called "capital appreciation bonds."
          The three partners agreed that Abdulwahab would
    serve as fund manager.      In the course of drafting the
    necessary offering documents and disclosures, Lapat
    used information from a document that Abdulwahab had
    completed earlier in 2006 in connection with an
    unrelated    hedge    fund       ("the     2006     document") .
    Abdulwahab had falsely represented on that document
    that he had earned an economics degree from Louisiana
    State University when he had neither attended LSU nor
    obtained a college degree from any school.           Abdulwahab
    had checked "no" in response to the question of
    whether he had "been convicted or pled guilty or nolo
    contendere,   no   contest                 to    a   felony   or
    misdemeanor    involving     investments      or    investment-
    related    business,    fraud,       false     statements     or
    omissions,   wrongful    taking     of   property,      bribery,
    forgery, counterfeiting or extortion."                   He also
    had checked "no" in response to the question of
    whether   "[he]   or  an organization of which              [he]
    exercised management or policy control [had] ever been
    charged with any felony or charged with a misdemeanor"
    of the type described in the previous question.               In
    actuality, Abdulwahab had pled guilty in 2004 in
    Harris County, Texas, to the felony of forgery of a
    commercial   instrument.        The    court    that    accepted
    Abdulwahab's guilty plea deferred a final adjudication
    in his case and placed him on a five-year period of
    community supervision.     Indeed, Abdulwahab was serving
    that term when he completed the 2006 document. [ 5 ]
          Lapat used the 2006 document to draft a biography
    and the A & O funds' disclosure documents, including

    5
      On June 4, 2007, the court terminated Abdulwahab' s
    period of supervision early and dismissed the case.
                                    6
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 7 of 23 PageID# 8419



    the private offering memorandum ("POM").        In so doing,
    Lapat discussed particular language with Abdulwahab.
    Because the POM was based on the 2006 document, the
    POM stated that Abdulwahab had earned his degree from
    LSU and did not disclose his felony plea.            Al though
    A & 0 regularly paid commissions of more than 10% to
    its sales agents, the POM nonetheless stated that A &
    O would invest 95% of investor funds in accordance
    with its investment objectives.
         After making       the   change  to   selling     capital
    appreciation bonds, A & O continued to operate in much
    the same way that it had previously, including using
    HIC to sell the bounds.          A & 0 also continued to
    perpetrate various misrepresentations by creating new
    marketing   materials.          For  example,     the    three
    principals and co-conspirator Eric Kunz drafted a
    "History   Sheet"     for   A & 0     stating    again    that
    Abdulwahab had earned his economics degree from LSU,
    and A & 0 mailed this document daily in 2007 to sales
    agents and investors.          In fact, A & 0 regularly
    utilized the mail to send marketing materials and
    investor documents.
         As things turned out, A & 0' s decision to sell
    capital appreciation bonds instead of life settlements
    did not stem the tide of regulator inquiries.              For
    this reason and because of some tension among the
    partners, Allmendinger, Oncale, and Abdulwahab agreed
    to sell A & 0 to a company called "Blue Dymond."
    Before the sale, however, Allmendinger, Oncale, and
    Abdulwahab helped themselves-for what Allmendinger
    believed   was    one    final   time-to   several     hundred
    thousand dollars from A & O's operating fund.            After
    this raid on A & O's coffers, only $2.9 million
    remained in A & O's bank accounts-not even half of the
    amount A & 0 needed to pay the premiums on all of its
    policies up through their bonding dates.
         Abdulwahab was retained as a consultant for six
    months after the sale as part of the sales contract.
    However,   al though Allmendinger did not           know   it,
    Abdulwahab and Oncale had constructed an elaborate
    secret plan to purchase the company themselves and
    continue running it.      Blue Dymond-the buyer of A & 0-
    was little more than a front for Abdulwahab and
    Oncale; it was an offshore shell company created and
    funded by Abdulwahab and Oncale with the assistance of


                                    7
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 8 of 23 PageID# 8420



    attorney Russell Mackert and without the knowledge of
    Allmendinger.
          To fund the "sale," Oncale and Allmendinger each
    deposited    $380, 000    from  their   personal   A    &  0
    disbursements into Mackert' s attorney trust account.
    Under the terms of the sale, the partners were to
    receive    $750,000,     with   the   expectation    of   an
    additional $250,000 in the 18 months following the
    sale.   While Allmendinger received his $750,000 check,
    Oncale and Abdulwahab-unbeknownst to Allmendinger,
    each received checks in the amount of only $750 and
    secretly continued the business through Blue Dymond.
    Mackert wrote all three of these checks from his
    attorney trust account.
          In September 2007, Mackert, at the direction of
    Abdulwahab and Oncale, also formed another offshore
    shell company, Physicians Trust, LLC, in the Caribbean
    Island of Nevis.     This new company allegedly purchased
    Blue Dymond in order to further disguise Abdulwahab's
    and Oncale's involvement with A & 0.       That same month,
    Abdulwahab and Oncale hired David White to serve as A
    & O's president.
          Through August 31, 2007, the date of the sale,
    Allmendinger had personally received $8,455,033.60
    from A & O; Oncale had received $7,303,496.98; and
    Abdulwahab     had     received   $2,889,366.70.        With
    Allmendinger gone,       A & 0 continued generally to
    operate in much the same manner as it had before.
    However, the remaining principals accelerated their
    misappropriation of investor funds.      Indeed, after the
    sham    sale,    Abdulwahab     and   Oncale    transferred
    approximately $10 million of investor funds from A &
    O's bank accounts to Mackert's attorney trust account,
    about $5.1 million of which was for Abdulwahab's
    benefit.
          All told, A & 0 signed 843 investor contracts
    investing a total of $104,048,660.18 between 2004 and
    2008.     During that period,       Abdulwahab personally
    received $8,002,904.78 from the scheme.
          Mackert took over the management of the A & 0
    entities in March 2008.       A & O had stopped taking new
    investor funds by that time, and Mackert' s role was
    essentially to make sure that premiums were paid,
    investor questions were answered, and investor files
    and policy files were protected.       The policy premiums
    were to be paid in part from $4.6 million that White
                                    8
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 9 of 23 PageID# 8421



        had paid to Prestige Escrow Company.    In March 2009,
        however, Mackert discovered that Prestige had stolen a
        large portion of that money.   In the next two months,
        Mackert undertook to determine how much money would be
        needed to continue to pay the policy premiums.       He
        concluded not only that there was not enough money
        after the theft but also that, even had the theft not
        occurred, the $4.6 million "wasn't even close" to
        being sufficient to pay the policy premiums.   With A &
        O lacking sufficient funds to make premium payments,
        Mackert subsequently placed A & 0 into bankruptcy.

United       States    v.     Abdulwahab,        715    F.3d     521,    523-26         (4th   Cir.

2013)    (omission and second, third,                  fourth,    and fifth alterations

in original)         (internal citations omitted).


                      III. INEFFECTIVE ASSISTANCE OF COUNSEL

        To    demonstrate            ineffective        assistance          of       counsel,     a

convicted        defendant             must      show         first,      that          counsel's

representation          was     deficient        and    second,        that      the    deficient

performance prejudiced the defense.                          Strickland v.           Washington,

466 U.S.      668,     687    (1984).       To satisfy the deficient performance

prong of Strickland,                the convicted defendant must overcome the

"'strong presumption'                that   counsel's        strategy and tactics              fall

'within the wide range of reasonable professional assistance.'"

Bur ch v .     Corcoran,       27 3 F . 3d     577 ,   588    ( 4th Cir .      2001 )    ( gu o ting

Strickland,      466 U.S.           at 689).      The prejudice component requires

a   convicted         defendant        to     "show    that     there     is     a     reasonable

probability that,             but    for    counsel's    unprofessional              errors,    the



                                                 9
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 10 of 23 PageID# 8422



result      of     the     proceeding        would         have    been   different.             A

reasonable probability is a probability sufficient to undermine

confidence         in the outcome."             Strickland,        4 66 U.S.   at    694.       In

analyzing        ineffective       assistance         of   counsel     claims,      it   is    not

necessary to determine whether counsel performed deficiently if

the claim is readily dismissed for                         lack of prejudice.            Id.    at

697.

       A.     Claim One-Failure              To      Object       To   Evidence     Of      Prior
              Criminal History

       In Claim One,         Abdulwahab contends that counsel "stipulated

and    failed      to    object    to   inadmissible          evidence    of petitioner's

prior criminal history."                 (§ 2255 Mot. 13.)             Prior to trial, the

parties filed the following stipulation with the Court:

             On or about April 23, 2004, Defendant Adley H.
       Abdulwahab pleaded guilty in the 337th District Court
       of Harris County, Texas, to Forgery of a Commercial
       Instrument,  a    felony.     The court deferred final
       adjudication   of    Defendant   Abdulwahab' s  case, and
       placed   him  on    a   five-year   period   of  community
       supervision.   On June 4, 2 0 0 7, the court terminated
       Defendant Abdulwahab's period of supervision early and
       dismissed the case.

(Stipulation #3,          ECF No.       172.)        The stipulation was read to the

jury during trial.                (June 8,      2011 Tr.      243-44.)     Abdulwahab now

claims      that    his   "guilty plea          to    and deferred adjudication                for

the offense of forgery was not relevant to an issue other than

character,       was not necessary to prove an element of the charged



                                                10
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 11 of 23 PageID# 8423



offense,           and was unfairly prejudicial pursuant to Rule                                   403" of

the    Federal Rules                of Evidence because he had no legal duty to

disclose           such       information.           (§   2255    Mot.        14,    16.)         This      is

simply untrue.

        As        to        Abdulwahab's        contention        that        his        prior     forgery

conviction was                not       relevant,    this      Court    has    already held that

"the        fact       of    the    Defendant's       felony     plea        was    relevant          to   the

crimes alleged in the Superseding Indictment and was admissible

pursuant           to       Federal      Rule   of   Evidence        402."         United       States      v.

Abdulwahab,             No.    3:10CR248-02,         2011 WL 4434236,               at    *5     (E.D.     Va.

Sept.       22,     2011),         rev' d    on other grounds by,              715       F. 3d 521         (4th

Cir.    2013).              Indeed,      "[a]mong the manner and means of the mail

fraud        conspiracy            alleged      in   Count     One     was    the        fact    that      the

Defendant           failed         to    disclose    to   certain       investors          that       he   had

pled guilty to                 forgery       of a    commercial        instrument          in Texas         in

2004."             Id.        (citing       Superseding        Indictment,           at     ~     64       (ECF

No. 140)). 6

        Abdulwahab              also        argues   that,       absent        a     legal        duty      to

disclose           his       prior      conviction,       he    could    not        have       been    found


        6
       Contrary to Abdulwahab's contention, the evidence during
trial demonstrated that Abdulwahab previously failed to disclose
this forgery conviction in a document he had completed in 2006
for an unrelated hedge fund.     United States v. Abdulwahab, 715
F. 3d 521, 524-25 (4th Cir. 2013) .    Michael Lapat subsequently
relied on    the  false  representations   in  that  document  to
establish hedge funds for A & O.   Id. at 525.
                                11
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 12 of 23 PageID# 8424



guilty of fraudulently inducing individuals to invest in A & 0.

(§   2 2 5 5 Mot.     14-16. )         On direct appeal,             Abdul wahab argued that

he should have been acquitted of mail fraud because "he had no

duty   to     disclose        his      criminal     history         to A & O's           investors."

Abdulwahab, 715 F.3d at 533.                    The Fourth Circuit found that "the

jury     certainly          could        have      rationally             concluded       that     any

suggestion by          [Abdulwahab]          that he was acting in good faith by

omitting his          felony        plea was       belied by his            representation,         on

the 2 0 0 6 document,             that he had never even been charged with a

felony."       Id. at 534.

       The Fourth Circuit has recognized that,                              "at common law,         no

fiduciary      relationship,            no   statute,         no    other       independent      legal

duty     to    disclose           is    necessary        to        make     active       concealment

actionable       fraud-simple            'good faith'          imposes          an obligation not

to purposefully conceal material facts with intent to deceive."

United       States    v.     Colton,        231    F.3d      890,        900    (4th    Cir.    2000)

( citations omitted) .                 Therefore,       even though Abdulwahab had no

legal duty to disclose his guilty plea, his failure to do so was

a material non-disclosure intended to mislead A & O's investors.

See Sonneberg v. United States, No.                        01-2067, 2003 WL 1798982                (3d

Cir.   Apr.     4,    2003)       (rejecting petitioner's claim that he could

not be liable for mail and wire fraud because he had no legal

duty    to    disclose        a     prior    guilty      plea        and    civil       injunction).


                                                   12
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 13 of 23 PageID# 8425




Counsel     cannot be          faulted         for     failing     to   raise       this meritless

objection and instead stipulating to the prior conviction.                                             See

United States v.            Moore,       934 F.        Supp.     724,   731    (E.D.      Va.    1996).

Moreover,       Abdulwahab              has      not       demonstrated            prejudice       from

counsel's       failure        to       raise     this       objection,       as     "the    evidence

supporting Abdulwahab's various fraud convictions was strong and

well    beyond       what    was        necessary          to    support      his    convictions."

Abdulwahab,       715    F. 3d      at    534.         Accordingly,        Claim One            will    be

dismissed because Abdulwahab fails to demonstrate deficiency or

prejudice.

       B.      Claim Two-Failure                To     Object     To    Evidence       of    Personal
               Spending

       In      Claim     Two,           Abdulwahab           alleges       that       counsel          was

ineffective for "fail[ing] to object to evidence of petitioner's

lavish personal          spending          and       the   prosecutor's         appeal      to    class

prejudice."          (§ 2255 Mot.          17.)        According to Abdulwahab, counsel

should have "file [ d]              a    motion in limine and object [ ed]                       to the

evidence        of      petitioner's              lavish         lifestyle          and     personal

expenditures."          (Id. at 18.)

       During the        trial,          the    Government        presented testimony from

Special     Agent       John     Norton         of     the      Internal      Revenue       Service's

criminal investigation division.                           (June 8,     2011 Tr.      499-500, ECF

No.    294.)         Special        Agent       Norton       testified        that     he    reviewed



                                                     13
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 14 of 23 PageID# 8426




expenditures        from     the      HIC        Wells    Fargo        account,        for     which

Abdulwahab was the signatory,                    for the time period from October

2005    through August 2007.                (June 8,       2011 Tr.           513-14.)       During

that time,

        [ $] 30, 000 was  paid  to   Bay  State  Motor Sports,
        $1,347.71 was paid to Gucci, $5,327.50 was paid to
        Macy's, $2,739.28 was paid for theme park tickets such
        as Magic Kingdom and Sea World, $56,825.83 was paid to
        Michael Klein's Fine Jewelry, $8,000 to Millennium
        Audi, $1,472.20 to Nordstrom, $13,322.80 to Prestige
        Time, LLC, $2,995 paid to Progressive Auto Sports,
        $1,545 to Watch Boutique, $3,166.31 to Zadok Jewelers,
        and $1, 043, 000 was transferred to [a] Bank of Jordan
        account in the name of Majda Abdulwahab.

(June 8,       2011 Tr.    514 -15. )       Special Agent Norton also testified

that he had reviewed records related to Abdulwahab's "purchases

of    some vehicles."          (June        8,    2011   Tr.       515 . )         On October 19,

2007,    Abdulwahab purchased a BMW for $73,721.42.                                 (June 8,    2011

Tr.     515-16.)        Abdulwahab      purchased          a   Jeep          for    $25,075.47    on

August 4,       2007.      (June 8 ,    2011 Tr .        518 . )      Prior to the vehicle

purchases, Abdulwahab had received several deposits from A & O's

accounts,       as well as attorney Russell Mackert' s                             attorney trust

account,       into his personal Wells Fargo bank accounts.                              (June 8,

2011     Tr.    516-18.)        The     vehicles         were       purchased         with     those

deposits.        (June 8, 2011 Tr. 517-19.)

        Abdulwahab first argues that this evidence was inadmissible

under Federal Rule of Evidence 401.                       (§   2255 Mot. 18.)            Rule 401



                                                 14
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 15 of 23 PageID# 8427



provides     that          "[e]vidence        is        relevant        if:        (a)     it      has     any

tendency to make a fact more or less probable than it would be

without     the    evidence;          and    (b)     the        fact    is     of    consequence            in

determining        the       action."          Fed.        R.     Evid.        401.             Here,      the

Superseding        Indictment          alleged          that      Abdulwahab              and      his     co-

conspirators misrepresented to investors that their money would

be   held     in        escrow        for     life        settlement-related                      purposes.

(Superseding           Indictment      ~~     19,       21(e),         60.)         The     Superseding

Indictment        also       alleged    that        the    Private           Offering           Memorandum

provided     to        investors       stated           that      "95%        of     investor            funds

received     by        A     &    0   would        be     invested            in    purchasing             and

maintaining        a    portfolio       of     life        settlements."                   (Id.     ~     31.)

Accordingly,       evidence of Abdulwahab's receipt of investor funds

transferred       from both A           &    O's        business        account          and Mackert' s

attorney trust account,                as    well as evidence of his                            subsequent

expenditures,          was       relevant    as     proof        that     Abdulwahab              had made

deliberate misrepresentations to investors concerning how their

invested money would be used.                      And, it was relevant to prove his

motive.     Any objection by counsel suggesting that this evidence

was inadmissible would have been meritless.                                    See Moore,           934 F.

Supp. at 7 31.

     Abdulwahab              also      contends            that          this            evidence         was

inadmissible under Rules 403 and 404(b)                            of the Federal Rules of

                                                   15
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 16 of 23 PageID# 8428




Evidence.         (§    2 2 5 5 Mot.        18 . )         Rule     403        provides       that      "[t] he

court may exclude relevant evidence if its probative value                                                     is

substantially           outweighed         by     a    danger        of        one    or   more        of     the

following:            unfair prejudice,               confusing the issues,                    misleading

the    jury,     undue delay,             wasting          time,    or needlessly presenting

cumulative evidence."                 Fed. R.         Evid.        403.        Rule 404(b)         provides

that    "[e]vidence            of     a    crime,          wrong,         or     other      act        is     not

admissible to prove a person's character in order to show that

on a particular occasion the person acted in accordance with the

character."            Fed.    R.    Evid.      404 (b) (1).              However,         such evidence

"may be admissible for another purpose,                               such as proving motive,

opportunity,           intent,        preparation,            plan,            knowledge,         identity,

absence     of    mistake,           or    lack       of     accidence."                Fed.      R.        Evid.

404 (b) (2}.

       In   support           of    his    argument,          Abdulwahab              cites     to      United

States v.        Hatfield,          685    F.   Supp.        2d 320            (E.D.N.Y.       2010}.          In

Hatfield,         the     court           considered           whether            evidence           of       the

defendant's "'lavish'                personal         spending" was                  admissible to the

question of "whether the stock trades and compensation methods

[the defendant] used to acquire this money were legal."                                                Id. at

326.        The       Hatfield        court          determined           that        to    answer           that

question,        it     was        "irrelevant         if      [the        defendant]          spent          his




                                                      16
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 17 of 23 PageID# 8429




fortune       on lavish parties,       instead of donating it                  to     starving

Malawian orphans."          Id.   (citation omitted).

        In the Fourth Circuit, however, evidence of lavish spending

is "clearly probative of             [the defendant's] motive                 (e.g.,   wealth

accumulation and maintenance)."                 United States v. Cole,                631 F.3d

146,    155    (4th Cir.    2011);    see also United States v.                  Shelburne,

No. 2:06CR00023, 2008 WL 474094, at *2-3                     (W.D. Va. Feb. 21, 2008

(collecting cases and finding that evidence of lavish spending

could be admitted under Rules 403 and 404(b)                       "to demonstrate the

defendant's       motive-greed").          Here,       the     Government           presented

evidence of Abdulwahab' s            personal     spending to demonstrate both

his motive for diverting investor funds for his personal use and

his intent to commit fraud by using investor funds for purposes

other    than    those     represented.         Counsel       is   not    deficient        for

failing to raise a meri tless              objection to this evidence.                     See

Moore, 934 F. Supp. at 731.

        Moreover,    Abdulwahab        cannot      demonstrate           prejudice        from

counsel's       failure    to     object   to    the    evidence         of     his     lavish

personal spending, because "the evidence supporting Abdulwahab's

various       fraud convictions was        strong and well beyond what was

necessary to support his convictions."                    Abdulwahab,          715 F.3d at

534.     Claim Two will be dismissed.




                                           17
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 18 of 23 PageID# 8430



        C.         Claim Three-Failure To Object To Use Of Alias

        In Claim Three, Abdulwahab contends that counsel "failed to

object        to    petitioner's             use     of       an    alias."              (§    2255      Mot.     20.)

According to Abdulwahab,                       "[c] ounsel' s               failure         to file       a motion

in limine and to object to the government's repeated references

to      petitioner's               use       of          an        alias          constitutes             deficient

performance."               (Id.      at     21      (citation omitted).)                          During trial,

various witnesses referred to Abdulwahab as "Adley Wahab."                                                        (See

June    9,        2011 Tr .       6 8 3- 8 4 . )     Abdulwahab testified that he would

shorten his last name to Wahab because "Abdulwahab is difficult

for people to say."                   (June 9, 2011 Tr. 684.)

        During           trial,       the          Government             presented            testimony          from

attorney           Michael        Lapat,           president          of         Turn       Key    Hedge        Funds.

(June        7,    2011     Tr.       195,         ECF    No.       293.)           In        2006,     Abdulwahab

contacted Lapat               to     create         an    unrelated              hedge        fund.       (June     7,

2011    Tr.        197-98.)           In     the     application,                 Abdulwahab            represented

that    he        had    received a          Bachelor's              of Economics                 from Louisiana

State University.                   (June 7 ,        2011 Tr .            19 9- 2 0 0 . )      Abdulwahab also

checked "no" in response to the question of whether he had ever

been    convicted           of     or      pled      guilty          to      a    felony          or   misdemeanor

"involving              investments          or     investment-related                      business,        fraud,

false        statements          or      omissions,             wrongful            taking         of    property,

bribery,          forgery,        counterfeiting or extortion."                                    (June 7 ,      2011


                                                          18
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 19 of 23 PageID# 8431



Tr.   202.)         Abdulwahab completed the application using the name

"Adley Wahab."                (June 7, 2011 Tr. 204.)                  Lapat subsequently used

information          from        this      application            to    draft        the        necessary

documents and disclosures to set up the hedge funds for A & 0.

(June 7, 2011 Tr. 208-09.) 7

        Evidence        of     an     alias    is    relevant          when     "the      use    of    that

alias is necessary to identify the defendant in connection with
                                                                          ,,     United States v.
the acts charged in the indictment

Clark,       541 F.2d 1016,             1018     (4th Cir.        1976)        (citation omitted).

Here,       the Government's theory was that Abdulwahab made material

misrepresentations to investors during the course of the fraud

scheme.           Evidence that Abdulwahab was the same individual who,

under       the    name       Adley     Wahab,      misrepresented             his     education        and

criminal background on an application that ultimately was                                              used

to    draft       documents         that   were      used    to     defraud       individuals           who

invested in A             &    O's hedge         funds,     was    relevant          to    explain the

manner and means Abdulwahab used to carry out the scheme.                                               See

United       States       v.    Vogt,      910      F.2d    1184,       1192      (4th     Cir.       1990)

(admission         of     evidence         card     for     the    purpose        of      establishing

defendant's use of alias to purchase certain asserts relevant to

        7
        As previously discussed, Abdulwahab' s representations in
this application were false, as Abdulwahab had "neither attended
LSU nor obtained a college degree from any school," and he "had
pled guilty in 2004 in Harris County, Texas, to the felony of
forgery of a commercial instrument."    Abdulwahab, 715 F. 3d at
524-25.
                                19
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 20 of 23 PageID# 8432



proof of           the    charges        against    him);    see   also   United States      v.

Goode,       No.        97-2163,    1999 WL        520553,    at   *3   (6th Cir.    July 14,

1999)        (evidence          relating      to    alias     relevant     to    establishing

identity of a fingerprint found on glass used to cut cocaine and

seized from defendant's residence); United States v. Brown, 5 F.

Supp. 3d 786, 789 (E.D. Va. 2014)                         (evidence of defendant's alias

relevant to tie him to "specific drug deals").                             Abdulwahab fails

to demonstrate that counsel was deficient for failing to make a

meritless objection.                 See Moore,          934 F. Supp. at 731.       Moreover,

given that              "the evidence       supporting Abdulwahab' s            various   fraud

convictions             was     strong    and well        beyond   what   was   necessary    to

support his convictions, Abdulwahab,                         715 F.3d at 534, Abdulwahab

cannot       show any prejudice               from counsel's        failure     to object to

evidence           of     his    alias.        Accordingly,        Claim    Three    will    be

dismissed.

        D.     Claim Four-Failure To Object To Visible Restraint Of
               Abdulwahab In Presence Of Jury

        In Claim Four,              Abdulwahab alleges that counsel "failed to

object to the visible restraint of petitioner in the presence of

the jury."              (§ 2255 Mot. 21.)          On the second day of the trial,

        Abdulwahab was escorted into the courtroom from the
        Marshal's lockup after approximately six jury members
        had already been seated in the jury box .           In
        this particular case, the defendant concedes that he
        was not shackled or in handcuffs, and was dressed in
        civilian clothes.  The Marshals escorted the defendant
        into the courtroom from the side entrance, with each
                                                    20
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 21 of 23 PageID# 8433




         Marshal having an arm on the defendant as a matter of
         restraint.   Six jurors were already seated, and the
         remaining six were entering the courtroom from the
         jury room.    Upon the observation by a Marshal that
         jury members were in the process of being seated, the
         Marshal immediately grabbed the defendant and pulled
         him back into the lockup area . .

(Mero.    Supp Mot.    for New Trial at 2,        ECF No.     311.)     Counsel did

not raise an objection at that time.               Rather, Abdulwahab filed a

pro se motion for a new trial pursuant to Rule 33 of the Federal

Rules       of   Criminal     Procedure.         (ECF   No.     272.)       Counsel

subsequently adopted that motion.              (ECF Nos. 310 and 311.)

         The Court denied the motion, stating:

               It is well-established that jurors' inadvertent
         sightings of a defendant's restraint are not per se
         prejudicial.     United States v. Shaver, 511 F.2d 933,
         935 (4th Cir. 1975); United States v. Rutledge, 40
         F.3d 879, 883-84 (7th Cir. 1994), rev'd on other
         grounds,    517       U.S.      292      ( 1996)     ("categorically
         reject[ing]"         the       argument          "that     prejudice
         automatically      inheres      in     a    trial   when     a  juror
         inadvertently sees a defendant in handcuffs" and
         nothing that this position "is in accord with other
         circuits that have addressed this issue"); United
         St ates v . Wi 11 i ams , 8 0 9 F . 2 d 7 5 , 8 4 ( 1st Cir . 19 8 6)
          (collecting cases from the Second,                   Fifth,   Sixth,
         Eighth, Tenth, and Eleventh Circuit Courts of Appeal
         for the same proposition) .            A new trial is warranted
         "only when the jury's view of the defendant in
         restraints is so inherently prejudicial that the right
         to a fair trial is denied."              United States v. Momon,
         1995 WL 231839, at *2 (4th Cir. 1995) (unpublished).
         "The defendant has the burden of showing that he was
         actually prejudiced when the jury had only a brief
         glimpse of him in restraints while being transported
         to and from the courtroom, as opposed to seeing him in
         restraints throughout the trial."              Id.   The fatal blow
         to the Defendant's claim that this warrants a new
         trial is the fact that he failed to raise this issue
                                          21
Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 22 of 23 PageID# 8434



        at the time it occurred.    This failure prevented the
        Court from polling the jury with regard to whether the
        incident had rendered any jurors incapable of deciding
        the case on the evidence.   Thus, the Defendant cannot
        show any actual prejudice from any juror's ·inadvertent
        glimpse of him being escorted in and out of the
        courtroom.   Even if he had raised this at the time it
        occurred, the extremely limited amount of "restraint"
        that   any  juror could have     observed-that  he  was
        escorted by two men in suits from a side door in and
        out of the courtroom-would be very unlikely to have
        prejudiced the Defendant, given the Court's repeated
        instructions regarding the presumption of innocence
        and the jurors' duties to consider only the evidence.
        Thus, this claim does not require a new trial.

United States v.         Abdulwahab,       No.   3:10CR248-02,    2011 WL 4434236,

at *4       (E.D. Va. Sept. 22, 2011), aff'd in part, rev'd in part on

other grounds by, 715 F.3d 521 (4th Cir. 2013).

        Even assuming,         arguendo,    that counsel acted unreasonably in

not raising an objection at the time of the incident, Abdulwahab

has not demonstrated that counsel's failure to do so prejudiced

his defense.       As noted above,          this Court already found that the

"limited       amount     of     'restraint'      that   any    juror    could   have

observed                 would be very unlikely to             have   prejudiced the

Defendant."        Id.         Abdulwahab    provides    no    persuasive   argument

that would convince the Court otherwise. 8                Because Abdulwahab has


        8
       Rather, Abdulwahab cites to cases in which the court found
prejudice because the defendants wore visible restraints during
court proceedings.   (§ 2255 Mot. 22-24 (citing Deck v. Missouri,
544 U.S. 622, 630 (2005)      (holding that defendant improperly
required to wear shackles in front of jury during the penalty
phase of a capital proceeding); Roche v. Davis, 291 F.3d 473,
483-84 (7th Cir. 2002) (finding counsel ineffective for failing
                                22
 Case 3:10-cr-00248-REP Document 530 Filed 05/03/16 Page 23 of 23 PageID# 8435




failed to establish any deficiency or prejudice, Claim Four will

be dismissed.


                                 IV.   CONCLUSION

      For the foregoing reasons,             Abdulwahab's       §    2255 Motion       (ECF

No.   4 90}   will    be   denied.     The    action    will        be   dismissed.      A

certificate of appealability will be denied. 9

      The     Clerk   is   directed    to    send   a   copy    of       the    Memorandum

Opinion to counsel of record.

      It is so ORDERED.


                                                               Isl             f?,U}
                                       Robert E. Payne
                                       Senior United States District Judge

Richmond, Virginia
Date: May V, 2016



to object to defendant charged with murder being shackled in
front of the j u r y) ; and United St ates v . Samu e 1, 4 31 F . 2 d 610 ,
614-15 (4th Cir. 1970) (noting that defendants are generally
entitled to be free of restraints before the jury unless the
need for greater security is established)).        Abdulwahab fails to
demonstrate how these cases compel a finding of prejudice here.
     9
       An appeal may not be taken from the final order in a §
2255   proceeding     unless   a  judge  issues    a    certificate     of
appealability ("COA").       28 U.S.C. § 2253 (c) (1) (B).   A COA will
not issue unless a prisoner makes "a substantial showing of the
denial of a constitutional right."          28 U.S.C. § 2253(c) (2).
This requirement is satisfied only when "reasonable jurists
could debate whether (or, for that matter, agree that) the
petition should have been resolved in a different manner or that
the issues presented were 'adequate to deserve encouragement to
proceed further.'"      Slack v. McDaniel, 529 U.S. 473, 484 (2000)
(quoting Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)).
Abdulwahab has not satisfied this standard.
                                   23
